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UNITED STATES DISTRICT. COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
Criminal No. 07-CR-10154-PBS

Vv.

JUAN SERRANO,
A/K/A “KING POPPY”

Nee

MOTION TO FILE DETENTION AFFIDAVIT

The United States of America respectfully moves this Court
to file the attached AFFIDAVIT OF SPECIAL AGENT J. MICHAEL DOYLE
IN SUPPORT OF PRE-TRIAL DETENTION in the above-captioned case.
The government anticipates moving that the defendant be detained
pending trial based on risk of flight and danger to the
community. The government submits that the affidavit will assist
the Court in resolving the government's motion and facilitate the

presentation of testimony in support of the motion.

Respectfully submitted,

MICHAEL L. SULLIVAN
United States Attorney

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By: Leh
THEODORE B. HEINRICH

Assistant U.S. Attorney

 

May 14, 2007
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AFFIDAVIT OF SPECIAL AGENT ¢. MICHAEL DOYLE IN
SUPPORT OF PRE-TRIAL DETENTION

I, J. Michael Doyle, being duly sworn, state:

1. I ama Special Agent with the Federal Bureau of
Investigation (FBI) and have been so employed for approximately
12 years. For the last year I have been assigned to the FBI
Southeastern Massachusetts Gang Task Force (SEMGTF}. Prior to
that I was assigned to the FBI Violent Crimes Task Force in New
York City where I investigated crimes of violence including gang-
related investigations. I have been the lead agent on a multi-
agency investigation targeting the leadership and other
Significant members of the chapter of the Latin Kings operating
in New Bedford, Massachusetts. Since this investigation was
initiated in early 2006, law enforcement agents have successfully
made purchases of cocaine base from leaders, members and
associates of the Latin Kings. Almost all of these purchases
were made in New Bedford by cooperating witnesses (*“CWs”} who
wore recording equipment and agreed to have their meetings and
conversations with the Targets recorded. The investigation
resulted in the indictment of 15 defendants on federal drug
charges and an additional 22 defendants on state drug charges.

2. This affidavit is not intended to set forth all of the

information that I and other law enforcement personnel have
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learned during this investigation, but is submitted only in
Support of the pre-trial detention of the above-captioned
defendants.

3. One of SEMGTF's primary goals is to reduce firearm
violence in Southeastern Massachusetts by targeting,
investigating, and prosecuting violent street gangs. Based on
our discussions with local law enforcement and particularly
officers of the New Bedford Police Department and the Bristol
County Sheriff's Office, we determined that the New Bedford
chapter of the Latin Kings was a significant street gang
responsible for a disproportionate share of the drug trafficking
and firearm violence in New Bedford. Several officers informed
me that the Latin Kings were well-organized and controlled the
drug trade in a significant area of New Bedford centered around
the North End area of New Bedford and including North Front,
Tallman, Deane, Bullard, and Nye Streets. Task Force members
employed by the New Bedford Police Department have advised me
orally and in writing that they have been involved in hundreds of
arrests, interviews, and encounters with Latin King members in
this area and been made aware that if persons not affiliated with
the Latin Kings try to sell drugs in the area they risk being

beaten, stabbed, or shot.
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4, For example, in a New Bedford police report dated June
i7, 2006, attached as Exhibit 1, a detective stated that the
Latin Kings are a “street gang known for its propensity for
violence and drug related activity. The Latin Kings have piagued
the North Front Street area with drugs and violence." Exhibit 1
at p. 7. Later in the report, a sergeant described how dealers
used the connected yards behind 325 North Front Street and 51
Tallman to conduct their drug transactions. "We have become very
familiar with the drug dealers that deal from this area since we
have been arresting them over and over during the last year.
Nevertheless they return to the area and continue dealing drugs.

we are constantly getting complaints from the nearby
residents who are living in this area and have to view this drug
dealing on a constant basis. We are constantly hearing from
parents that they are not able to allow their children to play in
the backyards due to the around the clock traffic of these drug
users and drug dealers."

5. During the course of this investigation, the SEMGTF
utilized CWs to make controlled purchases of crack cocaine from
the targets largely because the targets would sell drugs only to
people they knew and trusted. In frequent interviews, the CWs

also consistently informed us that the Latin Kings not only sold
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crack and other drugs in and around these streets, but that they
completely controlled the drug trade in the area.

6. The majority of the drug deals charged in the above-
captioned indictments occurred in this area. The chart attached
as Exhibit 2 shows the date of each distribution, the quantity
and price of the crack cocaine sold, the defendants involved, and
the location of the sale. The map attached as Exhibit 3 shows
the location of the sales within the area. As these exhibits
demonstrate, of the 25 charged crack sales, only 8 did not occur
in the area. The deals were conducted both inside and outside,
often with one or more members of the Latin Kings present in the
same room or area.

7. Three CWs were used in the 25 drug sales charged in the
above-captioned cases. Each has been interviewed about its
knowledge of the defendants and their association with the Latin
Kings. In addition, members of SEMGTF have interviewed several
confidential informants (CIs) including one or more who are
members of the Latin Kings. In addition, I have reviewed the
records of the Bristol County House of Corrections, who keep
records of gang affiliation. Finally, I have spoken with
officers of the Bristol County Sheriff's Office and the New
Bedford Police Department who have extensive experience with the

Latin Kings. Based on the information set forth above, I can
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state that each of the defendants listed below is a member or an
associate of the Latin Kings:

Javier Ortiz Perez, aka King Javier;

Felipe Ortiz Perez, aka King Felipe;

Ricardo Negron Cabrera, aka King Cano;

Juan Nova Roman, aka King Roman;

Diego Perez, aka King Loco;

Jorge Torres, aka King Jorge;

Luis Sostre, aka Louie;

Javier Reyes, aka King Hollywood;

Gustavo Feliciano, aka King Gustavo;

Guillermo Lugo, aka King Gilly;

Abraham Perez, aka King Diamond;

Rafael Reyes, aka King Coffee;

Juan Serrano, aka King Poppy;

Kimberly Steadman, aka Queen Keisha;

Rakeem Waller, aka King Taz.

In addition, at least three of the defendants have or had
leadership positions within the Latin Kings New Bedford Chapter:
Diego Perez (leader), Javier Ortiz-Perez (high ranking member),
Luis Sostre (high ranking member). Even those defendants who are
associates of the Latin Kings have important relationships with
the gang. For example, a CI who is a member of the Latin Kings
stated to us that the Latin Kings previously had a violent
dispute with Rakeem Waller as a result of his attempts to sell
drugs in the area and that the dispute ended only in the last
year when Waller and leaders of the Latin Kings made a pact to
co-exist.

8. Although this investigation has initially focused on the

local activities of the New Bedford chapter of the Latin Kings, I
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know from my training and experience that the Latin Kings are a
national gang that was founded in the 1960s in Chicago and now
has chapters in states and cities throughout the Eastern United
States. Regional Chapters must be sanctioned by the national
leadership in Chicago. Each Regional Chapter must then sanction
its local chapters. The stated purpose of the Latin Kings was the
organization of Hispanics dedicated to overcoming an “oppressive
government" and uplifting ail "third world" people. In reality
they primarily operate as a violent gang in prisons and in
cities, where they typically engage in drug trafficking to
enhance their financial strength. Indeed, the Latin Kings
operate chapters in several other Massachusetts cities and their
drug and violent activities have resulted in federal prosecutions
in Lawrence and Lowell in 2004, in greater Springfield in 2005,
and in Chelsea in 2006. The Affidavit of FBI Special Agent
Jeffrey S. Wood, attached here as Exhibit 4, explains the history
of the Latin Kings in Massachusetts in greater detail.

9. The defendants' affiliation with the Latin Kings
heightens the danger they present to the community, both because
the affiliation makes it more likely that the defendants will be
able to continue to engage in drug trafficking despite their

arrests and because of the possibility that members of the Latin
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Kings as a group will try to threaten or assault people who have
or are believed to have cooperated with the government in the

investigation,

Signed under the pains and penalties of perjury this 14th

day of May, 2007.

J MICHPEL DOYLE / of
ECIAL AGENT, FBI
